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                    SCHEDULE A TO PROGRESSIVE PLUMBING, INC.’S
                      SUBPOENA TO HOSPITALITY PLUMBING, INC.

                                         INSTRUCTIONS

       1.        In producing the requested items, Ace Hospitality, Inc. (“Ace”) is requested to

furnish all documents, ESI and tangible things held by or available to it regardless of whether any

such item is currently in the possession or custody of Ace’s attorneys, employees, agents,

representatives or otherwise available to Ace.

       2.        Unless otherwise stated within or implied by the request, the time period of each

request is from January 1, 2012, through the date of response.

       3.        If copies or drafts exist of a responsive document, then Ace is requested to produce

and submit for inspection and copying each and every copy and draft which differs in any way

from the original document or from any copy or draft.

       4.        The singular form and masculine form of a noun or pronoun shall embrace, and

shall be read and applied, as the plural or feminine or neuter form of the noun or pronoun, as may

be appropriate under the context of the noun or pronoun.

       5.        If Ace objects to the production of any document on the claim of attorney/client or

work product privilege, then Ace is requested to identify the privilege claimed as well as each

document for which such privilege is claimed, together with the following information with respect

to each such document:

            a.   Date;
            b.   Sender;
            c.   Addressee;
            d.   Subject;
            e.   The basis on which the privilege is claimed; and,
            f.   The names of persons to whom copies of any part of the document were furnished,
                 together with an identification of their employer and their job titles.



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       6.       With respect to e-mails, true and correct hard copies, entirely unedited and

unaltered, may be produced, but each copy must include full header details, entire e-mail threads,

and complete copies of all attachments.

                                          DEFINITIONS

       1.       “Plaintiff” means Kellogg & Kimsey, Inc., together with any related entities,

subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       2.       “Ace” means Ace Hospitality, Inc., together with any related entities, subsidiaries,

employees, agents, representatives, attorneys and any other persons acting or purporting to act for

or on behalf of the foregoing.

       3.       “Hospitality” means Hospitality Plumbing, Inc., together with any related entities,

subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       4.       “Allied” means Allied World Specialty Insurance Company f/k/a Darwin National

Assurance Company together with any related entities, subsidiaries, employees, agents,

representatives, attorneys and any other persons acting or purporting to act for or on behalf of the

foregoing.

       5.       “Progressive” means Progressive Plumbing, Inc., together with any related entities,

subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       6.       “Project” means the hotel project known as 1800 West End Hotel & MX

Development, which is located at 1800 West End Avenue, Nashville, Tennessee 37203.

       7.       “Building Inspector” means the Metropolitan Government of Nashville and

Davidson County, Tennessee, Department of Codes and Building Safety, together with any related
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entities, subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       8.       “Person” means any individual, trust, firm, partnership, organization, company,

corporation, business, entity, or association.

       9.       “Communication” means any interchange, expression, conveyance, signal,

delivery, or transmission of thoughts, opinions, or information and includes, but is not limited to,

e-mail, voice-mail, text messaging, instant or online messaging, calendar data, correspondence,

facsimiles, electronic file sharing, in-person meetings, recordings, telephone or conference calls,

on-line chats, and any form of video or internet conferencing.

       10.      “Concerning” means in any way directly or indirectly relating, regarding,

pertaining, or referring to, or discussing, describing, indicating, or disclosing.

       11.      “Relate”, “related”, “relates”, or “relating” means in any way directly or indirectly

concerning, constituting, evidencing, supporting, confirming or representing.

       12.      “Any”, “each”, and “all” shall be read to be all inclusive, and to require the

production of each and every document (as hereinafter defined) responsive to the particular request

in which such term appears.

       13.      “And” and “or” and any other conjunctions or disjunctions used herein shall be read

both conjunctively and disjunctively so as to require the production of all documents (as

hereinafter defined) responsive to all or any part of the particular request in which any conjunction

or disjunction appears.

       14.      The term “including” shall in all instances mean “including, but not limited to”.

       15.      The term “document” includes all electronic media or other tangible forms in which

information is stored and includes all written or graphic matter of every kind and description,



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however produced or reproduced, whether draft or final, original or reproduction. The term

“document” includes all copies of a document which contain any additional writing, underlining,

notes, marginalia, deletions, or any other markings or notations, or are otherwise not identical

copies of the original.

       16.      The past tense shall be construed to include the present tense and vice versa to make

the request inclusive rather than exclusive.

       17.      The singular shall be construed to include the plural and vice versa to make the

request inclusive rather than exclusive.

                              DOCUMENTS TO BE PRODUCED

       1.       Hospitality’s entire non-privileged file related to the Project.

       2.       All contracts or agreements entered into between Hospitality and Plaintiff regarding

the Project, including any documents or agreements between Hospitality and Plaintiff containing

terms for the withholding and/or payment of retainage, as well as any schedules for payments.

       3.       All contracts or agreements entered into between Hospitality and any other entity

related to Progressive’s scope of work on the Project, including any documents or agreements

between Hospitality and these entities containing terms for the withholding and/or payment of

retainage, as well as any schedules for payments.

       4.       All documents evidencing payments, including invoices, cancelled checks, bank

statements or credit card statements, from Ace to Hospitality for Hospitality’s work on the Project.

       5.       All documents evidencing payments, including invoices, cancelled checks, bank

statements or credit card statements, from Progressive to Hospitality for Hospitality’s work on the

Project.

       6.       All payment applications submitted by Hospitality to Ace regarding Hospitality’s

work on the Project.
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       7.         All payment applications submitted by Hospitality to Progressive regarding

Hospitality’s work on the Project.

       8.         All change orders, along with supporting documentation thereto, issued to

Hospitality from Progressive for Hospitality’s work on the Project.

       9.         All change orders, along with supporting documentation thereto, issued to

Hospitality from Ace for Hospitality’s work on the Project.

       10.        All non-privileged Communications, including electronic Communications,

between Hospitality and Progressive, regarding change orders issued to Hospitality on the Project.

       11.        All non-privileged Communications, including electronic Communications,

between Ace and Hospitality, regarding Hospitality’s work on the Project.

       12.        All non-privileged Communications, including electronic Communications,

between Ace and Hospitality, regarding payment to Hospitality for its work on the Project.

       13.        All non-privileged Communications, including electronic Communications,

between Ace and Hospitality, regarding individuals or entities hired to complete Progressive’s

allegedly defective or improper work on the Project.

       14.        All non-privileged Communications, including electronic Communications,

between Ace and Hospitality, regarding payments made by Ace to Hospitality or any other entity

on the Project.

       15.        All non-privileged Communications, including electronic Communications,

between Ace and Hospitality regarding any aspect of Progressive’s work on the Project, including

Communications regarding change orders, allegedly deficient or improper work, and completing

Progressive’s scope of work.




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       16.      All non-privileged Communications, including electronic Communications,

between Ace and Hospitality regarding the Project.

       17.      All non-privileged Communications, including electronic Communications,

between Hospitality and Progressive regarding the Project.

       18.      All non-privileged Communications, including electronic Communications,

between Hospitality and any entity retained to complete work on Hospitality’s scope of work on

the Project.

       19.      All non-privileged Communications, including electronic Communications,

between Hospitality and Progressive related to the installation of fixtures by Hospitality on the

Project.

       20.      All non-privileged Communications, including electronic Communications,

between Hospitality and Progressive related to Hospitality’s provision of labor for the Project.

       21.      All documents evidencing the amount of time spent by Hospitality working on the

Project, including time sheets, time cards, cancelled checks, and invoices.

       22.      All documents related to work completed by Hospitality on the Project, including

contracts, change orders, invoices, payment applications, and cancelled checks.

       23.      All documents in Hospitality’s possession related to the fixtures installed by

Hospitality on the Project.

       24.      All documents in Hospitality’s possession related to the materials it utilized to

complete its work on the Project.




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